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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

  IN RE:                                     )
                                             )      Case No. 3:19-bk-30822
  TAGNETICS INC.,                            )
                                             )      Chapter 7 (Involuntary)
                       Alleged Debtor.       )
                                             )      JUDGE GUY R. HUMPHREY



                        MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 2090-1, Tagnetics Inc., by and through its undersigned counsel,

hereby respectfully requests that this Court admit Stephen B. Stern pro hac vice. In support of

this Motion, states the following:

       1.      Mr. Stern is a Partner with the firm Kagan Stern Marinello & Beard, LLC, located

at 238 West Street, Annapolis, Maryland 21401. His email address is stern@kaganstern.com.

His telephone number is (410) 216-7900 and his fax number is (410) 705-0836.

       2.      Mr. Stern has been admitted to practice before the following courts: Maryland,

Bar No.: (a/k/a – Client Protection Fund No.) 9706250452, since on or about June 25, 1997;

District of Columbia, Bar No.: 452589, since on or about August 7, 1998; and Virginia, Bar No.:

40300, since on or about October 28, 1996.

       3.      Mr. Stern has been admitted to the following federal courts:        United States

District Court for the District of Maryland, Bar No.: 25335, admitted on or about June 26, 1998;

United States District Court for the Eastern District of Virginia, Bar No.: 40300, admitted on or

about November 8, 1996; United States District Court for the District of Columbia, Bar No.:

452589, admitted on or about August 8, 2003; United States Court of Appeals for the Third

Circuit, admitted on or about March 3, 2004; United States Court of Appeals for the Fourth


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Circuit, admitted on or about September 7, 1999; and United States Court of Appeals for the

District of Columbia Circuit, Bar No.:49181, admitted on or about January 30, 2004.

       4.      Mr. Stern is a member in good standing of all courts to which he has been

admitted; is eligible to practice before said courts; and is not currently suspended, disbarred, or

the subject of any disciplinary proceeding in any jurisdiction.

       5.      Mr. Stern will affiliate and work with the undersigned counsel, who will serve as

Ohio counsel in this matter.

               WHEREFORE, Tagnetics Inc., respectfully requests that Stephen B. Stern be

permitted to practice before this Court in the above-captioned matter.

Dated: May 13, 2019                           Respectfully submitted,

                                              /s/ Robert R. Kracht
                                              Robert R. Kracht
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                                              Counsel for Tagnetics Inc.




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                                  CERTIFICATE OF SERVICE
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to the following participants via email and/or U.S. First Class Mail
on this 13th day of May, 2019.

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                                                     /s/ Robert R. Kracht
                                                     Robert R. Kracht (#0025574)




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